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                                   1                                 UNITED STATES DISTRICT COURT

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                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                   3

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                                   5   THERESA SWEET, et al.,
                                   6                  Plaintiffs,                         No. C 19-03674 WHA

                                   7           v.

                                   8   MIGUEL CARDONA, et al.,                            FURTHER ORDER RE SUMMARY
                                                                                          JUDGMENT SCHEDULE
                                   9                  Defendants.

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                                  12        The sua sponte call for a vote to determine whether the panel order should be reheard by
Northern District of California
 United States District Court




                                  13   our court of appeals en banc has been withdrawn. In re Elisabeth DeVos, No. 21-71109, Dkt.

                                  14   No. 37 (9th Cir. May 27, 2022). Accordingly, pursuant to the prior order pausing the

                                  15   summary judgment briefing, the new deadline for plaintiffs’ summary judgment motion is

                                  16   JUNE 9. Defendants’ combined cross-motion for summary judgment and opposition is due

                                  17   JUNE 23. Plaintiffs’ combined response to defendants’ summary judgment motion and reply

                                  18   brief is due JUNE 30. Defendants’ reply brief is due JULY 8. The hearing is set for JULY 28.

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                                  20        IT IS SO ORDERED.

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                                  22   Dated: May 27, 2022.

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                                                                                            WILLIAM ALSUP
                                  25                                                        UNITED STATES DISTRICT JUDGE
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